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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     UNITED STATES OF AMERICA,                          Case No. 20-cr-00249-RS (LB)
                                  12                    Plaintiff,
Northern District of California




                                                                                            DISCOVERY ORDER
 United States District Court




                                  13             v.
                                                                                            Re: ECF No. 1278
                                  14     ROWLAND MARCUS ANDRADE,
                                  15                    Defendant.

                                  16

                                  17      This order addresses the disputes in ECF No. 178 about the timeline for production that the

                                  18   court ordered previously. (Orders – ECF Nos. 165 and 170.)

                                  19      First, for any future timeline disputes about the sufficiency of the government’s production,

                                  20   Mr. Andrade must identify any disputes to the government, and the parties must confer to reduce

                                  21   disputes. Then, in a draft joint report (with each dispute set forth in a separately numbered section,

                                  22   like the format in the current report), the government must set forth its position and email the draft

                                  23   to Mr. Andrade. Mr. Andrade must insert his response and email it back to the government. The

                                  24   government then must reply to that response and file the joint report.

                                  25      Second, the government may submit its withheld documents for the court’s in camera review.

                                  26   (Joint Status Report – ECF No. 178 at 3–4.) It must lodge a chambers copy that is appropriately

                                  27   tabbed and organized for the court’s review.

                                  28

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                                   1       Third, for the Levin extractions, the court cannot tell whether there is a dispute. The

                                   2   government seemingly said that it produced all that it has. The parties must resubmit this dispute

                                   3   in the format described above. The court asks the parties to eliminate unnecessary commentary

                                   4   that only obfuscates and does not illuminate the disputes.

                                   5       Fourth, for the Erickson device, the court cannot tell what the dispute is. Again, the parties

                                   6   must resubmit it in the form described above.

                                   7       Fifth, the government proposes, and Mr. Andrade accepts, a production date of June 2 for the

                                   8   information described in category 4 of ECF No. 178.

                                   9       Sixth, the government’s representation about its compliance for category 5 complies with the

                                  10   court’s earlier order.

                                  11       IT IS SO ORDERED.

                                  12       Dated: May 26, 2023
Northern District of California
 United States District Court




                                  13                                                    ______________________________________
                                                                                        LAUREL BEELER
                                  14                                                    United States Magistrate Judges
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